Case 2:21-cv-00133-JRG-RSP Document 56 Filed 04/17/22 Page 1 of 1 PageID #: 351




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

      CERTIFIED ROSES, INC. and 502                 §
      SCENIC DRIVE, LLC, Individually and           §
      on Behalf of all Others Similarly Situated,   §
                                                    §
                 Plaintiffs,                        §
                                                    §
                                                              Case No. 2:21-cv-00133-JRG-RSP
     v.                                             §
                                                    §
                                                    §
      SYMMETRY ENERGY SOLUTIONS,                    §
      LLC,                                          §
                                                    §
                                                    §
                      Defendant.                    §
.
                                                ORDER

           Before the Court is the Joint Motion to Stay Proceeding Pending Finalization of

    Settlement Agreement, filed by Plaintiffs Certified Roses, Inc. and 502 Scenic Drive, LLC,

    Individually and on Behalf of all Others Similarly Situated, and Defendant Symmetry Energy

    Solutions, LLC. Dkt. No. 55.

           After consideration, the Court ORDERS that all deadlines in this matter are STAYED

    through May 15, 2022. It is further ORDERED that, absent a showing of good cause, the Parties

    shall file dismissal papers no later than May 15, 2022.
             SIGNED this 3rd day of January, 2012.
           SIGNED this 17th day of April, 2022.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
